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IN THE UNITED STA'I`ES DISTRICT COURT 639 ""~'<\
FOR THE WESTERN DISTRICT OF TENNESSEE 530 <<%"
EASTERN DIVISION

PAULINE THARPE, by next friend
and attorney in fact, MARSHALL
THARPE

 

Plaintiff,

vs. Case No.: 1-05-1067 T/An

MERCK & CO., INC.; RONNIE L.
BATCHELOR, DPH; TAMMY RENE
N. PRATHER, DPH; BECKY CAPPS
TEAL, DPH; EXPRESS SCRIPTS,
INC.; STEPHANIE B. (BUCK) ISON;
COURTNEY SHAY (INGRAM)
McMAKIN; VINAY KRISHAN
SOOD; MELISSA CAROL
(McALLISTER) BARNES; MICHAEL
RICHARDS; PATRICIA
BLASINGAME and SCOTT EVANS,

Defendants

 

 

ORDER ON MOTION FOR SPECIAL ADMISSION PRO HAC VICE

 

J ames L. (Larry) Wright has moved for special admission pro hac vice in this action on
behalf of Plaintiffs. J ames L. (Larry) Wright is licensed to practice law in good standing before
the Texas Supreme Court. For good cause shown, that motion is granted It is hereby ordered
that Mr. Wright be admitted pro hac vice as counsel for Plaintiffs and may actively participate in
any trial, pre-trial and post-trial proceedings before this court.

IT IS SO ORDERED.

H__ `
Signed this the ly day of Mfé , 2005. 3 M
UNWED sTATEs DIsTRICT JUDGE

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Thls document entered on the docket oh _ _ a‘pj

with ama sa and.'or_'re tag FacP on _LY_Q___.__-

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J ames M. Doran1 Jr.

Lela M. Hollabaugh

Waller, Lansden, Dortch & Davis, PLLC
511 Union Street

Suite 7200

Post Office Box 198966

Nashville, TN 37219

(615) 244-6380

Attorneys for Defendant Merck & Co.,
lnc. and Defendant Sales Reps

Stephen P. Hale (BPR #011276)

Buffey E. Klein (BPR # 022879)

Husch & Eppenberger, LLC

One Memphis Place

200 Jefferson Av.

Suite 1450

Memphis, TN 38103

(901) 523-1123

Attorneys for Defendant Express Scripts,
Inc.

Catherine Hensler-Dickerson

Tim McCurdy

Husch & Eppenberger, P.C.

190 Carondelet Plaza, Suite 600

St. Louis, MS 63105-3441

(314) 480-1500

Attorneys for Defendant Express Scripts,
Inc.

Thomas F. Preston

McNabb, Bragorgos & Burgess, PLLC
Sixth Floor

81 Monroe Avenue

Memphis, TN 38103

(901) 624-0640

Attorney for Defendant Becky Capps
Teal, DPH

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 1:05-CV-01067 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

EssEE

 

Steven G. Ohrvall

H[LL BOREN- Jackson
1269 N. Highland Ave.
P.O. Box 3539

Jackson7 TN 38303--353

Lela M. Hollabaugh

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
Jackson7 TN 38303--053

Buffey Klein

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

1\/1emphis7 TN 38103

Joseph R. Alexander
Mithoff & lacks
500 Dallis St.

Ste. 3450

Houston, TX 77002

Stephen P. Hale

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

1\/1emphis7 TN 38103

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Pam Warnock Green

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

1\/lemphis7 TN 38103--540

J ames L. Wright
Mithoff & lacks7 P.C.
11 1 Congress Avenue
Suite 1010

Austin7 TX 78701

J ames M. Doran

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Thomas F. Preston

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

1\/lemphis7 TN 38103--540

Thomas M. Donnell

STEWART ESTES & DONNELL
424 Church St.

Ste. 1401

Nashville, TN 37219--239

Honorable J ames Todd
US DISTRICT COURT

